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 1
                             IN THE UNITED STATES DISTRICT COURT
 2
 3                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 4                              SAN FRANCISCO/OAKLAND DIVISION
 5
     Zachary NIGHTINGALE, et al.,
 6                                                                    No. 3:19-cv-03512-WHO
                             Plaintiffs,
 7                                                                SIXTH DECLARATION OF
                 v.                                                 TAMMY M. MECKLEY
 8
 9   U.S. CITIZENSHIP AND IMMIGRATION
     SERVICES, et al.,
10
                             Defendants.
11
12
13   I, Tammy M. Meckley, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

14          1.         I currently serve as a Senior Executive for U.S. Citizenship and Immigration

15   Services (USCIS) as the Associate Director of the Immigration Records and Identity Services

16   Directorate (IRIS). I am responsible for providing stakeholders with timely and appropriate access

17   to trusted immigration information and services in support of the missions and goals of USCIS and

18   the Department of Homeland Security (DHS).
19          2.         I have over 20 years of experience with the U.S. Federal Government in the
20   Departments of Homeland Security and Justice. I have also held key executive positions in the
21   private sector. Currently, I lead nearly 1,000 federal employees across three divisions: Verification,
22   Identity and Information Management, and the National Records Center (NRC). The NRC manages
23   and operates the Freedom of Information and Privacy Act (FOIA/PA) Program of USCIS.
24          3.         I make this declaration in my official capacity based on my personal knowledge,
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     my review of records kept in the ordinary course of business, and information provided to me in the
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     course of my official duties.
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                                                      -1-
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 1          4.        This declaration is submitted in support of Defendants’ Fourth Compliance
 2   Report, per this Court’s December 17, 2020 Order and Judgment, ECF Nos. 89 & 90, and its October
 3   4, 2021 Order, ECF No. 116. The purpose of this declaration is to provide the Court with an update
 4   regarding USCIS’s substantial compliance with the Court’s Order and Judgment. ECF Nos. 89 &
 5   90.
 6                           Status of Pending A-File Requests and Backlog
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            5.         As stated in Defendants’ most recent Compliance Report, in the approximately
 8
     nine months between the Court’s December 17, 2020 Order and the end of the third reporting period
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     (end of the day September 14, 2021), USCIS eliminated its Alien File (“A-File”) backlog almost
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     entirely, from around 21,987 requests to around 92 requests. Fifth Declaration of Tammy M.
11
     Meckley ¶ 5, ECF No. 113-1 (“5th Meckley Decl.”). In addition, during the third reporting period,
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     USCIS achieved a timely completion rate of approximately 99.14 percent. Id. ¶ 8(a). Plaintiff and
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     the Court agreed that USCIS’s results marked substantial compliance with the Court’s injunction.
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     See October 4, 2021 Order, ECF No. 116. Since then, for reasons discussed further below, some of
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     which are temporary or beyond USCIS’s control, USCIS’s backlog has increased and its timely
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     completion rate has decreased. Specifically:
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18          6.     From September 15, 2021 through the end of the day yesterday, December 14, 2021,

19   USCIS received approximately 65,612 new FOIA requests for A-Files. During that reporting period,

20   USCIS completed processing approximately 61,580 A-File requests. Of the new requests received

21   during the fourth reporting period, approximately 41,545 requests were completed, and

22   approximately 21,374 requests were timely completed. This reflects a timely completion rate of

23   approximately 51.45 percent for the fourth reporting period. While the timely completion rate has
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27                                                  -2-
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 1   dropped, the actual impact to processing times is not significant in terms of the average processing
 2   time for requests in each of USCIS’s tracks. 1 Specifically, during the fourth reporting period:
 3                      a. the average processing time for Track 1 cases has been approximately 21.30
 4                          business days.
 5                      b. the average processing time for Track 2 cases has been approximately 31.89
 6                          business days.
 7
                        c. the average processing time for Track 3 cases has been approximately 11.97
 8
                            business days.
 9
            7.      There are approximately 21,122 FOIA requests for A-Files that remain pending
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     within the statutory period (approximately 87.64% of pending requests) as of the end of the day on
11
     December 14, 2021.
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            8.      There are approximately 2,978 FOIA requests for A-Files that remain pending
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     beyond the statutory period (approximately 12.36% of pending requests) as of the end of the day on
14
     December 14, 2021. These requests comprise USCIS’s current A-File backlog.
15
                     Reasons for USCIS’s Change in Backlog and Compliance Rate
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            9.     Since the filing of USCIS’s last compliance report, multiple factors have converged
17
18   to cause USCIS’s backlog of requests to grow and its timely completion rate to decrease. As

19   explained below, several of these factors relate to the end of the fiscal and calendar years, and thus

20   are not expected to persist into early 2022. Other factors relate to increased demands on a limited

21   pool of resources, particularly in light of Operation Allies Welcome, which supported the

22   humanitarian parole of 50,000-plus Afghans entering the United States, a surge in asylum and

23
24          1
              As previously noted, Track 1 consists of requests seeking very specific or very limited
     records; Track 2 consists of complex requests, or those that are seeking more than a few pages of
25   documents; and Track 3 consists of requests from individuals who can demonstrate that they have
     an upcoming scheduled immigration hearing. See Declaration of Tammy M. Meckley ¶ 21, ECF
26   No. 75-2 (“1st Meckley Decl.”).
27                                                    -3-
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 1   refugee applications, and other agency priorities. Specifically, the following factors have impacted
 2   USCIS’s performance during this reporting period:
 3                     a. Decreased overtime availability:      During the Fourth compliance period,
 4                         USCIS has been severely constrained in the amount of overtime it can
 5                         authorize for FOIA processing. From the end of the fiscal year on September
 6                         30, 2021, until November 7, 2021, USCIS lacked funding to authorize any
 7
                           overtime for FOIA processing, and from November 7 until December 9,
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                           USCIS only had funding for 4,100 overtime hours. This is in contrast to the
 9
                           prior reporting periods, during which, from the beginning of the court order
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                           until the end of the fiscal year on September 30, 2021, FOIA employees
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                           worked an average of 4,800 overtime hours each month.          Overtime was
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                           limited during the most recent period due to multiple competing budget
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                           priorities related to USCIS’s immigration adjudication workload. However,
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                           on December 9, 2021, the USCIS Chief Financial Officer made the decision
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                           to fully fund FOIA overtime enhancements for the rest of fiscal year 2022.
16
                           Accordingly, the USCIS FOIA office anticipates that it will be able to
17
18                         increase its overtime use during the next reporting period.

19                     b. Increased use of leave: The majority of the staff in USCIS’s FOIA office have

20                         “use or lose” leave that must be taken before the end of the year or else the

21                         leave is lost. Due in part to the high workload associated with achieving

22                         compliance with the Court’s injunction, for most of calendar year 2021,

23                         USCIS’s FOIA staff voluntarily limited their use of leave. But with the end
24                         of the calendar year approaching, FOIA staff have taken significantly more
25                         leave, thus impacting USCIS’s ability to keep its backlog down and meet the
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27                                                   -4-
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 1                   FOIA’s 20- and 30-business-day deadlines in every case. For example,
 2                   during September 2021, staff within the USCIS FOIA Office used only 386
 3                   total days of leave. In November 2021, however, when the majority of staff
 4                   had at most two months before their leave expired, the USCIS FOIA Office’s
 5                   staff used over 760 days of leave. Indeed, from the prior reporting period to
 6                   the current period, on an average day the percentage of staff on leave
 7
                     increased from 4.5% to 8.6% currently. We anticipate staff will continue to
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                     take leave over the next several weeks in light of upcoming holidays.
 9
                     However, starting in early 2022, USCIS FOIA staff are likely to decrease the
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                     rate at which they take leave, as they have in prior years.
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                  c. Competing priorities: In addition to processing A-Files in compliance with
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                     the Court’s injunction, USCIS is facing multiple competing national
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                     priorities, all of which pull from a limited pool of resources and staffing.
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                     These competing priorities directly impact the USCIS FOIA program’s ability
15
                     to detail USCIS personnel from other parts of the agency to assist in FOIA
16
                     processing. For example, USCIS refugee officers who had assisted the FOIA
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18                   program with casework during the prior fiscal year needed to return to their

19                   jobs processing refugee applications in an effort to accomplish President

20                   Biden’s goal of 125,000 refugee admissions in Fiscal Year 2022. These

21                   detailees previously assisted the FOIA office with approximately 66,234 A-

22                   File cases and roughly 15% of all processing time, but by the end of the Fiscal

23                   Year, all of them had to return to their primary functions, and, in light of the
24                   demands of other programs, have not been able to be re-detailed to the FOIA
25                   office. Similarly, USCIS non-FOIA personnel throughout the agency were
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 1                       detailed to eight military bases across the country in support of Operation
 2                       Allies Welcome, which supported the humanitarian parole of 50,000 plus
 3                       Afghans entering the United States, to include resettlement work and
 4                       processing employment authorization applications. USCIS non-FOIA staff
 5                       have also been detailed to support DHS efforts on the southwest border,
 6                       assisting in processing and case work associated with border crossings. Each
 7
                         of these priorities, along with others that support immigration application and
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                         petition adjudication, significantly impacts the availability of USCIS staff that
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                         would otherwise be available to take on details to assist the USCIS FOIA
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                         program. 2
11
                      d. Increased volume of requests: USCIS has experienced a significant increase
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                         in the volume of requests received. From the period of September 15, 2021
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                         through December 14, 2021, USCIS received 65,612 FOIA requests, a 44.2%
14
                         increase from the same time frame in 2020 (45,500), and a 23.51% increase
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                         from the same time frame in 2019 (53,122).
16
                      e. Staff vacancies: The USCIS FOIA office has also experienced significant
17
18                       turnover during this reporting period. Specifically, 10 permanent positions

19                       were vacated, which led to staffing shortages and a need to conduct additional

20                       hiring and training. As a result, of the 22 permanent positions authorized in

21                       January 2021, USCIS now has 11 total vacancies, including the one vacancy

22                       that existed at the end of the last reporting period. See 5th Meckley Decl. ¶

23                       9(a).   In addition, of the 25 one-year term positions authorized by the
24                       Memorandum of Agreement with ICE, USCIS currently has 10 vacancies,
25
           2
             One member of the USCIS FOIA staff was temporarily detailed to assist with Operation
26   Allies Welcome, but will soon return to the FOIA staff.
27                                                 -6-
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 1                         though employment offers for four candidates have been extended, with one
 2                         set to enter on duty January 2, 2022 and three currently pending security
 3                         clearance.
 4                        Continued Actions to Address A-File FOIA Requests
 5          10.    Despite the increased volume of requests received and fluctuating resources to process
 6   those requests, as outlined above, USCIS continues to undertake substantial efforts to sustain and
 7
     improve its overall FOIA program. Those efforts are described in Defendants’ previous compliance
 8
     reports and USCIS’s previous declarations. Specific to the current reporting period, USCIS has
 9
     continued to bolster the following resources and personnel:
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                       a. As noted, on December 9, 2021, the USCIS Chief Financial Officer made the
11
                           decision to fully fund FOIA overtime enhancements for the rest of fiscal year
12
                           2022, and the USCIS FOIA office accordingly anticipates that it will be able
13
                           to increase its overtime use during the next reporting period.
14
                       b. USCIS has worked with DHS and its components to obtain any available
15
                           resources to assist in its backlog reduction efforts. Specifically, in response
16
                           to the recent fluctuation in USCIS’s resources, ICE has detailed two
17
18                         employees to USCIS to assist with review and approval of requests directly

19                         associated with the court order. Additionally, the DHS Privacy Office has

20                         provided two contractor employees to USCIS to process FOIA requests

21                         directly associated with the court order.

22                     c. USCIS continues to conduct additional hiring to fill its vacancies, including,

23                         as noted, extending employment offers to four candidates to fill the one-year
24                         term positions authorized by the ICE Memorandum of agreement. USCIS is
25                         currently conducting its hiring process to fill its remaining vacant positions.
26
27                                                   -7-
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 1                      d. Finally, USCIS intends to continue seeking an above-guidance appropriation
 2                          for its FOIA program, including a request for $188.5 million for Fiscal Years
 3                          2023 through 2027. Id. ¶ 9(d). USCIS previously submitted this proposal to
 4                          DHS for review and consideration and that request is still pending.
 5          11.    USCIS continues to work to identify additional process efficiencies to address the
 6   factors impacting its ability to timely process requests and to implement changes that will allow it
 7
     to continue to reduce agency’s backlog. These efforts were instituted with the goal of creating long-
 8
     term improvements in USCIS’s FOIA program, and remain ongoing.
 9
            12.    USCIS will continue to closely monitor FOIA response times and identify requests
10
     that may require management or leadership attention and additional resources. USCIS will also
11
     continue to identify and work to address any new issues that arise that may impede FOIA
12
     compliance, just as it did with the temporary loss of overtime funding.
13
            13.    USCIS expects that its efforts will continue to improve its FOIA program with respect
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     to future A-File FOIA requests. Specifically, if the volume of requests received and the resources
15
     to process those requests is consistent with USCIS’s projections, USCIS anticipates that it will report
16
     lower backlog totals by the next compliance report.
17
18
19          I declare under penalty of perjury that the foregoing is true and correct.

20                                         TAMMY M          Digitally signed by TAMMY M
                                                            MECKLEY


21   Dated: December 15, 2021              MECKLEY          Date: 2021.12.15 15:58:26
                                           _________________________
                                                            -05'00'

                                           TAMMY M. MECKLEY
22                                         Associate Director
23                                         Immigration Records and Identity Services Directorate (IRIS)
                                           U.S. Citizenship and Immigration Services (USCIS)
24
25
26
27                                                    -8-
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